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                     UNITED STATES DISTRICT COURT
                          DISTRICT OF NEVADA
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UNITED STATES OF AMERICA,                              2:15-cr-00036-JAD-CWH

                       Plaintiff,
                                                 STIPULATION FOR EXTENSION OF
            vs.                                  GOVRENEMNT’S TIME TO FILE
                                                 RESPONSE TO DEFEDANTS’ PRETRIAL
OSCAR HERNANDEZ-LOPEZ, et al.                    MOTIONS
                                                     ( First Request)
                      Defendant.


       IT is hereby stipulated and agreed by the United States of America, by and through DANIEL

G. BOGDEN, the undersigned Assistant United States Attorney, Kimberly M. Frayn, Damian

Sheets, Esq., counsel for Defendant OSCAR HERNANDEZ-LOPEZ, and Benjamin Durham, Esq.,

counsel for Defendant BRENDA BERNAL, that the Government will have an extension of time to

file the Government’s responses to: 1) Defendant Hernandez-Lopez’s motion to suppress statement

(doc. no. 38); 2) Defendant Brenda Bernal’s motion to suppress statement (doc. no. 37); and 3)

Defendant Brenda Bernal’s motion to sever (doc. no. 36), to a date and time convenient to the

Court, but not less than Thursday, December 24, 2015, for the following reasons:

       1.     The Government’s responses are presently due to be filed on Monday, December 14,

2015. (Doc. No. The parties agree to the brief extention of time for the Government to file its

responses, to wit: for approximately ten (10) days until Thursday, December 24, 2015. Government


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counsel has only recently been assigned responsibility for this matter and needs additional time to

review the case prior to drafting the government’s responses. Additionally, Government counsel has

been out of the district and was not aware that the Defendants’ motions had been filed until she

returned to work on or about December 3, 2015. Accordingly, the Government needs an additional

ten (10) days to investigate, research and draft appropriate responsive pleadings. Although the

Defendants are both presently detained, defense counsel each indicated there is no objection to the

Government’s request for a brief extension of time to respond.

       2.      The brief requested delay will not unduely prejudice the defendants and is not made

merely for purposes of delay, but to allow the Govenrment continuity of counsel. Granting of this

request will not affect the trial in this matter, which is presently set for February 22, 2015.

       This is the first request to extend time for the Government to file its responses.


       THEREFORE, the parties respectfully requests the Court to extend the Govenrment’s time

to file its responses to: 1) Defendant Hernandez-Lopez’s motion to suppress statement (doc. no. 38);

2) Defendant Brenda Bernal’s motion to suppress statement (doc. no. 37); and 3) Defendant Brenda

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       Bernal’s motion to sever (doc. no. 36), to a date and time convenient to the Court, but not

less than Thursday, December 24, 2015.

       DATED this 11th day of December, 2015.

                                                    DANIEL G. BOGDEN
                                                    United States Attorney

                                                    /s/ Kimberly M. Frayn
                                                    KIMBERLY M. Frayn
                                                    Assistant United States Attorney

                                                    /s/ Damian Sheets, Esq.
                                                    DAMIAN SHEETS, ESQ.
                                                    Counsel for Defendant Oscar Hernandez-Lopez

                                                    /s/ Benjamin Durham, Esq.,
                                                    BENJAMIN DURHAM, ESQ.
                                                    Counsel for Defendant Brenda Bernal




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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF NEVADA
                                  -oOo-

UNITED STATES OF AMERICA,                              2:15-cr-00036-JAD-CWH

                       Plaintiff,

            vs.

OSCAR HERNANDEZ-LOPEZ, et al.

                      Defendant.


                                             ORDER

              After considering the parties’ stipulation agreeing to extend the Govenrment’s time to

file the Government’s o responses to: 1) Defendant Hernandez-Lopez’s motion to suppress

statement (doc. no. 38); 2) Defendant Brenda Bernal’s motion to suppress statement (doc. no. 37);

and 3) Defendant Brenda Bernal’s motion to sever (doc. no. 36), to a date and time convenient to the

Court, but not less than Thursday, December 24, 2015, the Court hereby finds good cause to grant

the Government’s request.

        THEREFORE, IT IS HEREBY ORDERED that the Stipulation For Extension Of

 Govrenemnt’s Time to File Responses to Defedants’ Pretrial Motions is GRANTED and the

Government shall file its responses before midnight on Thursday, December 24, 2015.


                                            _____________________________________
                                            THE HONORABLE JUDGE CARL W. HOFFMAN
                                            UNITED STATES MAGISTRATE COURT JUDGE

                                            DATED: December 14, 2015




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